Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 1 of 12 Page ID #:5499




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       COUNTY OF LOS ANGELES
    18
    19                     UNITED STATES DISTRICT COURT

    20              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    21 LA ALLIANCE FOR HUMAN                            CASE NO. 2:20-cv-02291 DOC-KES
       RIGHTS, et al.,
    22                                                  REQUEST FOR JUDICIAL
    23            Plaintiffs,                           NOTICE IN SUPPORT OF
                                                        DEFENDANT COUNTY OF LOS
    24              v.                                  ANGELES’ MOTION TO DISMISS
    25 CITY OF LOS ANGELES, et al.,                     Hearing Date: May 10, 2021
                                                        Time: 8:30 a.m.
    26                   Defendants.                    Location: Courtroom 9D
    27
                                                        Assigned to the Hon. David O. Carter
    28                                                  and Magistrate Judge Karen E. Scott
         502793.3                                                     Case No. 2:20-cv-02291 DOC-KES
                                 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                            DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 2 of 12 Page ID #:5500




     1         Defendant County of Los Angeles (the “County”) hereby submits this
     2 Request for Judicial Notice pursuant to Rule 201 of the Federal Rules of Evidence in
     3 support of its Motion to Dismiss:
     4 I.      LEGAL STANDARDS
     5         “The court may judicially notice a fact that is not subject to reasonable
     6 dispute because it: (1) is generally known within the trial court’s territorial
     7 jurisdiction; or (2) can be accurately and readily determined from sources whose
     8 accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). A court “may
     9 take judicial notice at any stage of the proceeding,” and “must take judicial notice if
    10 a party requests it and the court is supplied with the necessary information.” Id. at
    11 201(c)(2), (d).
    12         In ruling on a motion to dismiss under Rule 12(b)(6), a court may consider
    13 “documents incorporated into the complaint by reference, and matters of which a
    14 court may take judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551
    15 U.S. 308, 322 (2007). A “court may take judicial notice of matters of public record
    16 without converting a motion to dismiss into a motion for summary judgment, as
    17 long as the facts noticed are not subject to reasonable dispute.” Skilstaf, Inc. v. CVS
    18 Caremark Corp., 669 F.3d 1005, 1016 n.9 (9th Cir. 2012) (citation omitted).
    19 Similarly, “documents whose contents are alleged in a complaint and whose
    20 authenticity no party questions, but which are not physically attached to the
    21 pleading, may be considered in ruling on a Rule 12(b)(6) motion to dismiss,” and
    22 “[s]uch consideration does ‘not convert the motion to dismiss into a motion for
    23 summary judgment.’” Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994) (citation
    24 omitted).
    25         In addition, when a plaintiff moves to dismiss for lack of subject matter
    26 jurisdiction under Rule 12(b)(1), “a court may look beyond the complaint to matters
    27 of [which judicial notice is taken] without having to convert the motion into one for
    28 summary judgment. It also need not presume the truthfulness of the plaintiffs’
       502793.3
                                              2                Case No. 2:20-cv-02291 DOC-KES
                              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                         DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 3 of 12 Page ID #:5501




     1 allegations.” White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000) (citation omitted).
     2         Courts may take judicial notice of “matters of public record.” MGIC Indem.
     3 Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986). These “matters of public
     4 record” include government records and reports. Barron v. Reich, 13 F.3d 1370,
     5 1377 (9th Cir. 1994) (holding that the district court properly took judicial notice of a
     6 field operations handbook for a regional division of the Department of Labor
     7 because the handbook “clearly constitute[d]” judicially noticeable facts); United
     8 States v. Ritchie, 342 F.3d 903, 909 (9th Cir. 2003) (observing “[c]ourts may take
     9 judicial notice of some public records, including the ‘records and reports of
    10 administrative bodies’” (citation omitted)).
    11         This includes records of municipal governments. Price v. County of
    12 Los Angeles, No. 2:20-cv-04911-SB-KS, 2020 WL 7861975, at *2 (C.D. Cal. Dec.
    13 1, 2020) (taking judicial notice of 15 documents submitted by the County of
    14 Los Angeles, including the “orders and proclamations made by the Los Angeles
    15 County Board of Supervisors and the Governor of the State of California,” the
    16 Twitter posts from county officials, and records of official motions and votes of the
    17 Los Angeles County Board of Supervisors); Best Supplement Guide, LLC v.
    18 Newsom, No. 2:20-cv-00965-JAM-CKD, 2020 WL 2615022, at *2 (E.D. Cal. May
    19 22, 2020) (taking judicial notice of “various documents issued by the federal
    20 government, the State of California, San Joaquin County, and the City of Lodi”);
    21 Bd. of Trs. of Leland Stanford Junior Univ. v. County of Santa Clara, No. 18-cv-
    22 07650-BLF, 2019 WL 5087593, at *4 (N.D. Cal. Oct. 10, 2019) (taking judicial
    23 notice of various documents, including official acts of the Board of Supervisors, a
    24 transcript of a Board of Supervisors’ public hearing, county ordinances, staff reports
    25 made public prior to Board of Supervisors’ meeting, and other such public records);
    26 Jenkel v. City & County of San Francisco, No. C 06-2593 MHP, 2006 WL 2053502,
    27 at *1 n.3 (N.D. Cal. July 21, 2006) (taking judicial notice of documents found on the
    28 website for the San Francisco Board of Supervisors, including resolutions and
       502793.3
                                                3                Case No. 2:20-cv-02291 DOC-KES
                              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                         DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 4 of 12 Page ID #:5502




     1 agendas for meetings).
     2         The documents set forth below are publically available at Los Angeles
     3 County websites, and their accuracy cannot reasonably be questioned. The
     4 documents are relevant to, and offered in support of, the County’s Motion to
     5 Dismiss to show that the County is, in fact, exercising its discretion to address
     6 people experiencing homelessness.
     7 II.     DOCUMENTS SUBJECT TO JUDICIAL NOTICE
     8         Pursuant to the above authority, the County respectfully requests that the
     9 Court take judicial notice of the documents submitted with and attached as Exhibits
    10 to the Declaration of Mira Hashmall:
    11         A.     Measure H And The Homeless Initiative
    12         On August 17, 2015, the Los Angeles County Board of Supervisors (the
    13 “Board”) launched the Homeless Initiative to combat the homeless crisis in Los
    14 Angeles. The Homeless Initiative was created following 18 policy summits on nine
    15 topics with 25 County departments, 30 cities and other public agencies, and over
    16 100 community partners and stakeholders. In February 2016, the Homeless
    17 Initiative finalized its recommended Strategies (the “2016 HI Report”) and
    18 submitted it to the Board for approval. The County requests that the Court take
    19 judicial notice of the 2016 HI Report. (Declaration of Mira Hashmall (“Hashmall
    20 Decl.”) Ex. 1.)
    21         On February 9, 2016, the Board approved the Homeless Initiative’s
    22 recommendations and instructed the County’s Chief Executive Office (“CEO”) to
    23 report to the Board on a quarterly basis. (Hashmall Decl. Ex. 2 (Feb. 28, 2020 CEO
    24 Report) at 1.) The County requests that the Court take judicial notice of a report
    25 submitted by the CEO to the Board on February 28, 2020. (Hashmall Decl. Ex. 2.)
    26         In March 2017, voters approved Measure H, which is a 0.25% increase to the
    27 County’s sales tax to provide an ongoing revenue stream to address the homeless
    28 crisis. As it appeared on the ballot, Measure H also required “independent annual
       502793.3
                                                 4                 Case No. 2:20-cv-02291 DOC-KES
                              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                         DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 5 of 12 Page ID #:5503




     1 audits and citizens’ oversight.” (Hashmall Decl. Ex. 3 (Mar. 7, 2017 Ballot).) The
     2 County requests that the Court take judicial notice of the March 7, 2017 Countywide
     3 Measure known as “Measure H” appearing on the ballot. (Id.)
     4              On June 13, 2017, the Board approved the recommended funding allocations
     5 for each of the Measure H-eligible Homeless Initiative strategies set forth in the
     6 2016 HI Report. (Hashmall Decl. Ex. 4 (Sep. 29, 2017 CEO Report) at 1.) The
     7 County requests that the Court take judicial notice of the report submitted by the
     8 CEO to the Board on September 29, 2017. (Hashmall Decl. Ex. 4.)
     9              In the ensuing years, Measure H generated an estimated $355 million
    10 annually, which “accelerated” the critical work of the Homeless Initiative to
    11 “improve the lives of individuals and families experiencing homelessness.”
    12 (Hashmall Decl. Ex. 2 (Feb. 2020 HI Quarterly Report) at 3.) As of February 2020,
    13 the Homeless Initiative reported to the Board that all 51 Strategies had been fully or
    14 partially implemented. (Id. at 4.) The Homeless Initiative also reported to the
    15 Board that, since July 2017, 19,767 individuals and family members have been
    16 permanently housed because of Measure H strategies, and 39,218 individuals and
    17 family members entered interim housing funded in whole or in part from Measure
    18 H. (Id. at 4.) The County requests that the Court take judicial notice of the
    19 February 2020 HI Quarterly Report (id.) and the December 2020 HI Quarterly
    20 Report (Hashmall Decl. Ex. 18).
    21              On September 15, 2020, the Board adopted the CEO’s Measure H and
    22 Homeless Housing, Assistance and Prevention (HHAP) Funding Recommendations.
    23 The funding recommendations total $465,090,000 for Fiscal Year 2020-21, which
    24 includes $28,737,000 in Measure H funds to be carried over from the prior fiscal
    25 year. The funds are allocated for specific strategies, as set forth in Attachment I.
    26 The County requests that the Court take judicial notice of the September 15, 2020
    27 funding recommendations that were adopted by the Board. (Hashmall Decl. Ex. 5.)
    28              On February 22, 2021, the CEO submitted the Countywide Homeless
         502793.3
                                                    5                Case No. 2:20-cv-02291 DOC-KES
                                  REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                             DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 6 of 12 Page ID #:5504




     1 Initiative’s Year Four performance evaluation prepared by Public Sector Analytics
     2 (“PSA”). The PSA evaluation was prepared by Dr. Halil Toros (Statistical
     3 Analytics Consultant, USC Price Center for Social Innovation), Dr. Dennis Culhane
     4 (Professor, University of Pennsylvania, Social Policy & Practice), and Dr. Stephen
     5 Metraux (Assistant Professor, University of Delaware, Biden School of Public
     6 Policy & Administration). The PSA reported to the Board that the Homeless
     7 Initiative is responsible for 30,900 permanent housing placements and 52,201
     8 interim housing placements funded in whole or in part through the Homeless
     9 Initiative since it was adopted. (Hashmall Decl. Ex. 6 (PSA Year Four Report) at
    10 2.) The PSA reported that, “for the third consecutive year, over 20,000 people
    11 experiencing homelessness exited homeless services to [Permanent Housing (“PH”)]
    12 placements,” and “nearly 10,000 of these PH placements occurred within the
    13 purview of HI-supported initiatives.” (Id. at 38.) The County requests that the
    14 Court take judicial notice of the February 22, 2021 CEO report to the Board, the
    15 transmitted Countywide Homeless Initiative’s Year Four performance evaluation.
    16 (Id.)
    17         B.    The County’s COVID-19 Response
    18         On March 4, 2020, the State of California declared a state of emergency
    19 related to COVID-19. As part of the response, the Governor created Project
    20 Roomkey to combat the spread of COVID-19 and address the needs of the most
    21 vulnerable individuals in the community. Project Roomkey is a statewide
    22 motel/hotel program that seeks to provide asymptomatic people experiencing
    23 homelessness with temporary housing.
    24         The County, in partnership with the City of Los Angeles and the Los Angeles
    25 Homeless Services Authority (“LAHSA”), facilitated the implementation of Project
    26 Roomkey in Los Angeles by finalizing agreements with hotels/motels, working with
    27 service providers to staff the hotels/motels, and deploying disaster relief workers to
    28 staff the sites. (Hashmall Decl. Ex. 7 (May 15, 2020 CEO Report).) As of May 15,
       502793.3
                                                 6              Case No. 2:20-cv-02291 DOC-KES
                              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                         DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 7 of 12 Page ID #:5505




     1 2020, over 2,000 people experiencing homelessness had been placed in
     2 hotels/motels pursuant to Project Roomkey. (Id. at 2.) The County Requests that
     3 the Court take judicial notice of the May 15, 2020 report by the CEO to the Board.1
     4 (Hashmall Decl. Ex. 7.)
     5         On May 12, 2020, the Board directed LAHSA, in collaboration with the CEO,
     6 other county departments, the City of Los Angeles, philanthropy and other key
     7 partners to develop a Homelessness COVID-19 Recovery Plan. (Hashmall Decl.
     8 Ex. 9 (July 2, 2020 CEO Report) at 1.) The Board directed the CEO to identify
     9 existing resources, including The CARES Act (H.R. 748) Coronavirus Relief Fund,
    10 to support the plan and to report back within 45 days. (Id.) LAHSA created a
    11 COVID-19 Recovery Plan, which focuses on five key goals: (1) no returns from
    12 COVID-19 response to the street; (2) rapidly house 15,000 of the most vulnerable
    13 people; (3) reduce inflow into homelessness; (4) prepare systems for future crises;
    14 and (5) ensure racial equity throughout. (Id.) LAHSA projected that it would cost
    15 $806,595,604 over the next three fiscal years to implement the plan in its entirety.
    16 (Id. at 2.) Of that total, $609,178,112 represents new costs that must be identified
    17 from existing or new funding sources. (Id.) On July 2, 2020, the CEO submitted
    18 the LAHSA COVID-19 Recovery Plan to the Board. (Id.) The County requests that
    19 the Court take judicial notice of the July 2, 2020 submission by the CEO to the
    20 Board and the attached LAHSA COVID-19 Recovery Plan. (Id.)
    21         On July 2, 2020, the CEO submitted a Funding Plan to the Board to support
    22 the LAHSA COVID-19 Recovery Plan. (Hashmall Decl. Ex. 5 (Sep. 15, 2020 CEO
    23 Funding Recommendation) at 3.) The CEO’s Funding Plan identified four funding
    24
    25   1
         As of March 15, 2021, the County has 2,261 available rooms as part of Project
    26 Roomkey, with 1,713 rooms occupied by 1,945 clients. (Hashmall Decl. Ex. 8
       (Mar. 15, 2021 COVID-19 Update).) The County requests that the Court take
    27 judicial notice of the March 15, 2021 Los Angeles County Emergency Operations
    28 Center COVID-19 Update. (Id.)
       502793.3
                                                7                Case No. 2:20-cv-02291 DOC-KES
                              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                         DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 8 of 12 Page ID #:5506




     1 streams: (1) $111 million from the County’s Coronavirus Relief Fund allocation for
     2 use through December 2020; (2) $80 million in Emergency Solutions Grants for use
     3 through mid-2022; (3) $65 million in Measure H funding for Strategy B3-Rapid Re-
     4 Housing through FY 2022-23; and (4) $52 million in potential federal Medicaid
     5 funding. (Id.) The Funding Plan noted that additional funding may come from the
     6 City of Los Angeles and LAHSA, but that is “pending decisions from their
     7 respective governing bodies.” (Id.) The County requests that the Court take judicial
     8 notice of the September 15, 2020 funding recommendations that were adopted by
     9 the Board. (Id.)
    10         C.    The County’s Crisis Response Strategy
    11         Prior to the onset of the COVID-19 pandemic, the California Council of
    12 Regional Homeless Advisors developed a “Comprehensive Crisis Response Strategy
    13 to Address Homelessness Statewide” (the “Crisis Response Strategies”). (Hashmall
    14 Decl. Ex. 10 (Mar. 24, 2020 CEO Report).) In response, Supervisors Mark Ridley-
    15 Thomas and Janice Hahn submitted a motion to the Board which recommended that
    16 the Board take action to implement the feasible and appropriate recommendations
    17 set forth in the State’s Crisis Response Strategies.
    18         On January 21, 2020, the Board directed the CEO and other county
    19 departments to establish a comprehensive homelessness crisis response strategy and
    20 to report back within 60 days. (Id. at 1.) On March 24, 2020, the CEO reported to
    21 the Board that the CEO-Homeless Initiative and Office of Emergency Management
    22 convened a workgroup comprised of several county departments to develop the
    23 response strategy. (Id. at 2.) The workgroup determined that the best course of
    24 action was to focus on a specific sub-population to establish a framework for
    25 addressing the entire homeless population. (Id.) The workgroup preliminarily
    26 selected a sub-group of homeless who are age 65 or older and developed a pilot
    27 program with recommendations for how to serve this population. (Id.) The
    28 workgroup noted, however, that “new on-going funding would need to be
       502793.3
                                              8               Case No. 2:20-cv-02291 DOC-KES
                               REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                          DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 9 of 12 Page ID #:5507




     1 identified,” as General Relief funds were not a viable funding source, and the
     2 Mental Health Services Act (“MHSA”) funds are “currently allocated for other
     3 purposes.” (Id. at 2-3.) The County requests that the Court take judicial notice of
     4 the March 24, 2020 report to the Board. (Id.)
     5        On April 14, 2020, Supervisors Ridley-Thomas and Hahn submitted a motion
     6 to the Board requesting that the Board take appropriate action to implement the
     7 recommended strategies in the March 24, 2020 report (the “April 14, 2020
     8 Motion”). The County requests that the Court take judicial notice of the April 14,
     9 2020 Motion. (Hashmall Decl. Ex. 11.)
    10        On May 12, 2020, Supervisors Ridley-Thomas and Hahn submitted a motion
    11 to the Board requesting that the Board direct the Executive Director of LAHSA, in
    12 collaboration with the CEO and other County departments, as well as the City,
    13 philanthropy and other key partners, to develop a Homelessness COVID-19
    14 Recovery Plan (the “May 12, 2020 Motion”). The motion explained that the
    15 Homelessness COVID-19 Recovery Plan should include “post-pandemic housing
    16 plans for homeless older adults,” and requested that the Board direct the CEO to
    17 identify existing resources, including The CARES Act (H.R. 748) Coronavirus
    18 Relief Fund, to support the plan. The motion further requested that the Board direct
    19 the CEO’s Legislative Affairs and Intergovernmental Relations Branch in
    20 Washington, D.C. and Sacramento to continue to advocate for federal and state
    21 resources to expand housing for the homeless. The County requests that the Court
    22 take judicial notice of the May 12, 2020 Motion. (Hashmall Decl. Ex. 13.)
    23        D.     The Freeway Plan
    24        On June 16, 2020, the County and the City entered into a binding term sheet
    25 whereby the County agreed to pay up to $60 million per year for five years to
    26 finance the City’s agreement to provide 6,700 beds for persons experiencing
    27 homelessness. (ECF Dkt. No. 136 (the “Freeway Plan”).) These 6,700 beds are
    28 intended to house and shelter persons experiencing homelessness who live within
       502793.3
                                                9               Case No. 2:20-cv-02291 DOC-KES
                             REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                        DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 10 of 12 Page ID
                                 #:5508



  1 500 feet of a freeway overpass, and then to give priority housing and shelter to
  2 persons experiencing homelessness who are 65 or older or who are otherwise
  3 vulnerable. (Id.) The County requests that the Court take judicial notice of the
  4 Freeway Plan. E.g., Nichols v. Brown, 859 F. Supp. 2d 1118, 1124 n.2 (C.D. Cal.
  5 2012) (taking judicial notice of court opinions and dockets).
  6         E.    Mental Health Services Act
  7         In the Complaint, Plaintiffs allege that as of 2019, “the County had almost
  8 $1 billion in funds allocated to it through the Mental Health Services Act, and . . . to
  9 date no reported expenditure has been made.” (Compl. ¶ 66.)
 10         On November 3, 2020, the County submitted a Status Report explaining how
 11 the County allocates and spends MHSA funds. (ECF Dkt. No. 197.) The County
 12 explained that MHSA funds are allocated pursuant to a three-year expenditure plan
 13 that is approved by the California Department of Health Services and the California
 14 MHSA Oversight and Accountability Commission. (Id. at 4.) The County requests
 15 that the Court take judicial notice of its November 3, 2020 Status Report. E.g.,
 16 Nichols, 859 F. Supp. 2d at 1124 n.2 (taking judicial notice of court opinions and
 17 dockets).
 18         On May 30, 2017, the Board adopted the MHSA three-year expenditure plan
 19 for fiscal years 2017-18, 2018-19 and 2019-20. Per this plan, MHSA funds are
 20 allocated for a variety of programs and services to meet the mental health needs of
 21 county residents. The County requests that the Court take judicial notice of the
 22 MHSA three-year expenditure plan adopted by the Board on May 30, 2017.
 23 (Hashmall Decl. Ex. 15.)
 24         As a result of the COVID-19 pandemic, the Los Angeles County Department
 25 of Mental Health (“DMH”) received an extension to continue with its three-year
 26 expenditure plan for fiscal year 2020-21. Per DMH, this “will allow for adequate
 27 time to ensure the stakeholder process is fully engaged in preparation of a new
 28 Three-Year Plan that reflects 1) a thorough understanding of community needs
    502793.3
                                              10               Case No. 2:20-cv-02291 DOC-KES
                           REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                      DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 11 of 12 Page ID
                                 #:5509



  1 which are in transition as a result of the ongoing COVID-19 pandemic and civil
  2 unrest, and 2) meaningful budget forecasts.” The County requests that the Court
  3 take judicial notice of the following statements set forth on DMH’s official website,
  4 at URL link: dmh.lacounty.gov/about/mhsa/announcements. (Hashmall Decl.
  5 Ex. 16.)
  6              F.    County Services
  7              Through 11 different County departments—Children and Family Services,
  8 Health Services, Mental Health, Public Health, Public Social Services, LAHSA,
  9 Development Authority, Sheriff’s Department, Probation, Public Defender and
 10 Workforce Development, and Aging and Community Services—the County
 11 provides an extensive array of services to people experiencing homelessness.
 12 (Hashmall Decl. Ex. 17 (ECF Dkt. No. 189).) The County requests that the Court
 13 take judicial notice of the County’s list of “Programs Serving People Experiencing
 14 Homelessness” (ECF Dkt. No. 189). E.g., Nichols, 859 F. Supp. 2d at 1124 n.2
 15 (taking judicial notice of court opinions and dockets).
 16 III.         CONCLUSION
 17              The above documents are relevant to, and offered in support of, the Motion to
 18 Dismiss to show that the County is exercising its discretion to address homelessness.
 19 They are public records available at Los Angeles County websites and their
 20 accuracy cannot reasonably be questioned. Thus, the County requests that the Court
 21 grant this request and take judicial notice of the documents.
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                                                  11                Case No. 2:20-cv-02291 DOC-KES
                               REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                          DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
Case 2:20-cv-02291-DOC-KES Document 258 Filed 03/29/21 Page 12 of 12 Page ID
                                 #:5510



  1 DATED: March 29, 2021              MILLER BARONDESS, LLP
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  3
                                       By:        /s/ Louis R. Miller
  4
                                              LOUIS R. MILLER
  5                                           Attorneys for Defendant
  6                                           COUNTY OF LOS ANGELES

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      502793.3
                                           12                Case No. 2:20-cv-02291 DOC-KES
                        REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                   DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS
